Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 1 of 10




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:16-CV-21874-KMM

   CUTHBERT HAREWOOD

          Plaintiff,

   v.

   MIAMI-DADE COUNTY, a political
   Subdivision of the State of Florida and JOHN
   ALEXANDER, a resident of the State of
   Florida,

          Defendants.

                   DEFENDANT OFFICER JOHN ALEXANDER’S MOTION
                 IN LIMINE TO EXCLUDE EVIDENCE AND TESTIMONY AT
                  TRIAL AND INCORPORATED MEMORANDUM OF LAW

          Defendant, Officer John Alexander (“Officer Alexander” or “Defendant”), seeks to

   exclude the following at trial: (1) any testimony or evidence regarding Plaintiff, Cuthbert

   Harewood’s (“Plaintiff[’s]”), lost wages; (2) evidence and testimony relating to any physical or

   emotional distress allegedly suffered by Ms. Coleman, a non-party; (3) improper bolstering of

   Plaintiff’s character through reference to his community activism, political connections, and

   awards; (4) improper opinion testimony, based on hearsay, as it relates to the Taser’s voltage;

   (5) reference to other instances in which Defendant has either activated or deployed his Taser or

   discharged his firearm; and (6) the documentary DVD produced by Plaintiff during discovery.

          Plaintiff’s claims against Defendant are for excessive force, false arrest, and retaliation,

   pursuant to 42 U.S.C. § 1983. On July 20, 2013, Plaintiff was arrested for battery on a law

   enforcement officer and resisting arrest without violence. While attempting to arrest Plaintiff,

   Defendant used force by tasing Plaintiff three times. As a result of having been tased three
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 2 of 10




   times, Plaintiff claims to suffer from several chronic conditions including erectile dysfunction

   syndrome, urinary incontinence, a cardiac injury that required the placement of a stent in his

   heart, hand tingling, Post-Traumatic Stress Disorder (“PTSD”), depression, and anxiety. As

   discussed below, Plaintiff seeks to introduce a vast array of irrelevant, unsubstantiated, and

   inflammatory details about his life, his medical state, and his emotional condition. The Court

   should exclude such evidence because its negligible probative value, if any, is outweighed by the

   danger of unfair prejudice.

           Additionally, Officer Alexander will be filing a motion to compel the records of Dr.

   Charles Gibbs, Phd, one of Plaintiff’s treating psychologists. During discovery, Plaintiff refused

   to execute a medical release for Defendant to obtain these records through a third party

   subpoena. As a result, Officer Alexander was forced to file a motion to compel (ECF No. 51),

   which Magistrate Judge McAliley denied without prejudice. See (ECF No. 57). In the Order

   Denying Motion to Compel, Judge McAliley ordered Plaintiff to request and review his records

   from Dr. Gibbs no later than January 9, 2017, and inform Defendant if he will agree to

   voluntarily produce the records, or explain in detail any objections, including privilege, which he

   has to their production. Id. at 1. Plaintiff is now in possession of his records from Dr. Gibbs, but

   he refuses to voluntarily produce them, even though he is claiming damages for psychological

   and emotional distress. Additional evidentiary issues may arise following Judge McAliley’s

   order on the forthcoming motion to compel. As such, Officer Alexander respectfully requests an

   opportunity to file a supplemental motion in limine or motion to strike following Judge

   McAliley’s ruling on his motion to compel.




                                                    2
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 3 of 10




          1. Improper Bolstering of Plaintiff’s Character

          This Court should exclude from trial any and all references to Plaintiff’s purported status

   in the community, including any mention of his alleged political connections, family members

   who work in law enforcement, networking events, community service projects, awards,

   volunteer activities with children, and general activism. Counsel for Plaintiff has indicated that

   he plans to introduce such evidence at trial. In the Second Amended Complaint, Plaintiff avers

   as follows:

          13. Mr. Harewood has dedicated the vast majority of his adult life to improving
          the living conditions of citizens who reside in Liberty City.

          14. Simply put, Mr. Harewood is a pillar of that community. He has received
          numerous awards and recognition for his work in Liberty City from a wide array
          of government entities and officials, including Miami-Dade Carlos Gimenez,
          several Miami-Dade County Commissions, the Miami-Dade Police Department,
          the Miami-Dade School Board, and the City of Miami.

          15. Most recently, Mr. Harewood received a Congressional Proclamation from the
          Honorable Fredericka [sic] Wilson, United States House of Representative, for his
          work in revitalizing Liberty City.

          16. Mr. Harewood has also spent countless hours working with police
          departments to reduce crime in his area and improve police/citizen encounters.

   (ECF No. 4-1 at ¶¶ 13-16). Also, throughout his deposition testimony, Plaintiff repeatedly

   brought up his work with children, community activism, political connections, volunteerism, and

   relatives in law enforcement. See, e.g., Plaintiff’s Dep. Vol. I at 36:6-10, 41:15-20, 60:3-20,

   62:8-17, 68:17-25, 69:3-19, 70:18-19, 107:2-16, 121:25-122:2; 123:20-125:2, 132:11-17,

   134:19-24; 144:20-145:10, 147:11-21 (ECF No. 66-2); see also, e.g., Plaintiff’s Dep. Vol. II at

   249:8-13 (ECF No. 66-3).      Even when the question did not call for any reference to his

   community service or political connections, Plaintiff volunteered such irrelevant information.




                                                   3
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 4 of 10




   For instance, when asked the very simple and straight forward question, “Had you ever met

   [Defendant] before July 20, 2013?” Plaintiff responded as follows:

              Not that I can recall. I mean, I met people that I don’t remember. I’m not
              like Obama, . . . with the ability he have that on the third occasion me [sic]
              shaking his hand he say, ‘Hi, Broadway.’ I was blown away. I’m like,
              how in the hell can you remember all these people?

   Plaintiff’s Dep. Vol. I at 132:7-15 (ECF No. 66-2). On another unprovoked occasion, Plaintiff

   volunteered that he danced with Rick Scott’s mother at his inauguration. Id. at 134:5-24. This

   Court should exclude such testimony and all other similar evidence from introduction at trial.

          To begin, the evidence is irrelevant to the issues at trial. Relevant evidence is evidence

   having any tendency to make the existence of any fact that is of consequence to the

   determination of the action more probable or less probable than it would be without the evidence.

   Fed. R. Evid. 401. Such evidence, however, is not relevant to the claims and defenses at trial

   pursuant to Rule 402 because presenting his community service and political connectedness does

   not make the existence of any material fact, such as whether Officer Alexander used reasonable

   force, more probable or less probable. Additionally, these anecdotes are unfairly prejudicial to

   Officer Alexander. Because jurors may be improperly swayed by sentiment in response to

   Plaintiff’s philanthropy, political connections, and community service, such evidence is sure to

   suggest decision on an improper basis—namely, emotion. On these grounds, the Court should

   exclude the evidence under Rule 403.

          Furthermore, Federal Rule of Evidence 404(a) specifically provides that “[e]vidence of a

   person’s character or a trait of character is not admissible for the purpose of proving action in

   conformity therewith.”    Indeed, “[e]vidence of a person’s character is viewed with some

   suspicion under the law and generally is disfavored in the Federal Rules of Evidence.” Schafer

   v. Time, Inc., 142 F.3d 1361, 1370 (11th Cir. 1998) (citing Rule 404). Plaintiff’s testimony about

                                                    4
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 5 of 10




   his work with children, community service and activism, or receipt of awards and accolades is

   precisely the type of evidence and character inference which 404(a) seeks to exclude. Given the

   frequency with which Plaintiff spontaneously discussed his accolades, community involvement,

   philanthropic tendencies, and political connections at deposition, Defendant is concerned that

   Plaintiff may do the same at trial. Because it is not relevant, unfairly prejudicial, and improper

   character evidence, it must be excluded under Rules 401, 403, and Rule 404(a), respectively.

             2. Myrlie Coleman

             Myrlie Coleman is a non-party eyewitness to the incident giving rise to Plaintiff’s claims.

   Given her testimony at deposition, Defendant expects Ms. Coleman will attempt to introduce

   evidence of her own mental and emotional distress at trial. When asked whether the incident

   giving rise to this lawsuit affected her in any way, Ms. Coleman testified, “Yes . . . Mentally,

   emotionally. I don’t have comfort.” Coleman Dep. at 150:1-6 (ECF No. 66-20). She has also

   described herself as “not the same, like I used to be happy, smiling, but I put the best on the

   outside.” Id. at 92:23-93:2 Ms. Coleman has also described how Plaintiff’s alleged erectile

   dysfunction has impacted her life. Id. at 89:19-22, 164:23-165:1 (“And I’m really hurt about this

   because that’s something I enjoy. I don’t smoke. I don’t get high, I don’t drink, but I enjoy

   sex.”).    While it is one thing for Ms. Coleman to testify about Plaintiff’s alleged erectile

   dysfunction, providing details about physical symptoms she has observed or physically

   experienced, it is another thing for her to lament about how those symptoms have affected her –

   physically or emotionally. See id. at 164:12-165:8.

             Accordingly, Defendant asks this Court to exclude such evidence as irrelevant and likely

   to cause undue prejudice. See Fed. R. Evid. 401. As noted above, the issues at trial are whether

   Officer Alexander arrested Plaintiff without probable cause and then used unlawful force against



                                                      5
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 6 of 10




   him in the course of his arrest. Plaintiff is seeking damages for emotional distress he allegedly

   suffered following the Arrest. Ms. Coleman, his girlfriend and a witness for him in this case, is

   not a party. Whether she suffered any emotional distress following the Arrest does not tend to

   prove or disprove whether the officer acted without probable cause or used unlawful force

   against Plaintiff.

             Additionally, this type of evidence also carries a high risk of unfair prejudice. See Fed.

   R. Evid. 403. Rule 403 permits trial courts to “exclude relevant evidence if its probative value is

   substantially outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

   jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Id. Rather than

   supply information that tends to make a fact more or less probable, testimony about Ms.

   Coleman’s alleged emotional distress may cause the jury to feel sympathy for her despite that

   she is not a party to the case. Given its lacking probative value and high likelihood of prejudice,

   the Court should exclude from trial any evidence or testimony about emotional distress Ms.

   Coleman has allegedly suffered as a result of the Arrest and the conditions surrounding the

   Arrest.

             3. Lost Wages

             Plaintiff is seeking approximately $2,000 in lost wages as consequential damages in this

   action. However, Plaintiff failed to produce any tax returns, pay stubs, or W-2 forms during

   discovery. Also, Plaintiff has admittedly failed to pay income taxes since 2011 (which predates

   his July 20, 2013 arrest). Plaintiff’s Dep. Vol. I at 48:2-21 (ECF No. 66-2). Officer Alexander

   served requests for production seeking copies of income tax returns filed by Plaintiff for the past

   10 years, as well as copies of W-2 forms or any other evidence of income for each of those years.

   Plaintiff responded by stating that he does not possess any W-2 forms, objected to the request as



                                                     6
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 7 of 10




   overbroad, unduly burdensome, and irrelevant, “insofar as it requires [him] to gather and produce

   ‘all income tax returns filed by [sic] the past 10 years.” See Plaintiff’s Amended Response to

   Defendant John Alexander’s First Request for Production, attached hereto at Exhibit A, at 9, No.

   33. The only document Plaintiff did produce in response to this request was a September 30,

   2016 Statement of Retirement Benefits Payment from the Department of Financial Services,

   State of Florida. See Plaintiff’s Sept. 30, 2016 Retirement Statement, attached hereto as Exhibit

   B. The 2016 Retirement Statement does not cover the 2013 timeframe from which Plaintiff’s

   claims lost wages. Accordingly, Plaintiff should be prohibited from testifying regarding his

   unsubstantiated lost wages.

          4. Taser Voltage

          In the Second Amended Complaint, Plaintiff avers that Officer Alexander “pumped” and

   “thrusted” 50,000 volts into his chest. See (ECF No. 4-1 at ¶¶ 30-33). However, at deposition,

   Plaintiff admitted that he has no independent knowledge about the Taser’s voltage.           See

   Plaintiff’s Dep. Vol. II at 193:7-14 (ECF No. 66-3). Rather, Plaintiff only believes that he

   received 50,000 volts of electricity through the Taser because of information he has learned

   through conversations with other people. As he explained, “Well, you got friend [sic] that got –

   they got taser guns, you know, and they talk about it. You know, like the major said, you know,

   he explain [sic] to me what that is, what it do, all that type of stuff.” Id. at 191:15-21. These

   statements, which are the only basis for Plaintiff’s belief that he received 50,000 volts of

   electricity each time he was tased, were made out of court and will be offered in evidence to

   prove the truth of the matter asserted in the statement. As such, they are hearsay and must be

   excluded. See Fed. R. Evid. 801, 802. Additionally, where Plaintiff will not be testifying as a




                                                  7
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 8 of 10




   Taser expert in this case, he should be prohibited from testifying in the form of an opinion

   regarding scientific or technical matters. See. Fed. R. Evid. 701, 702.

          5. Other Instances in which Officer Alexander Activated or Deployed his Taser or
             Discharged his Firearm

          The parties are in agreement as to the exclusion of any evidence or testimony regarding

   other instances in which Officer Alexander has activated or deployed his Taser or discharged his

   firearm. During deposition, Officer Alexander was asked (1) how many times he has deployed

   his Taser, outside of this incident, and (2) whether he has ever had to discharge his firearm.

   Officer Alexander’s Deposition at 21:19-21, 16:1-17:1 (ECF No. 66-4). Outside of the July 20,

   2013 incident involving Plaintiff, Officer Alexander has deployed his Taser one other time. Id.

   16:1-17:1. Officer Alexander did not discharge his firearm on July 20, 2013. He has, however,

   discharged his firearm one time while on duty. Id. at 21:19-22:19. Incidents in which Officer

   Alexander has used his Taser or firearm—other than what occurred on July 20, 2013—have no

   tendency to make any consequential fact at issue more or less probable. Accordingly, the parties

   have agreed to the exclusion of any such evidence at trial.

          6. July 20, 2013 DVD/Documentary

          During the course of discovery, Plaintiff produced a DVD containing a documentary

   from the night of his arrest. This original production contains interviews with Plaintiff, Ms.

   Coleman and community members. Also, the film contains a slideshow of photographs and

   video clips set to music showing Plaintiff networking with prominent political figures and

   engaging in community service. The parties have agreed that the DVD video will not be played

   at trial. However, Plaintiff has indicated that he may attempt to extract still frames from the

   video to introduce them as photographs. Where the film cannot be authenticated under Federal

   Rule of Evidence 901, Officer Alexander requests that it, and any still frames Plaintiff seeks to

                                                    8
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 9 of 10




   extract, be excluded at trial. Additionally, because the video itself is replete with hearsay, it must

   be excluded. See Fed. R. Evid. 802.

          WHEREFORE, Defendant respectfully requests that the Court enter an order excluding

   from trial evidence and testimony relating to: (1) improper bolstering of Plaintiff’s character;

   (2) any emotional distress allegedly suffered by Myrlie Coleman; (3) Plaintiff’s lost

   wages; (4) Taser voltage based on hearsay and offered through nonexpert opinion; (5) other

   instances in which Officer Alexander deployed his Taser or discharged his firearm; and (6) the

   DVD documentary Plaintiff produced during discovery.

                        CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Rule 7.1(a)(3) of the Local Rules of the Southern District of Florida,

   undersigned counsel certifies that this office communicated with Plaintiff’s counsel on January

   12, 2017 regarding the relief requested herein. Counsel for Plaintiff has agreed to the exclusion

   of evidence related to any instance, outside of what took place on July 20, 2013, in which Officer

   Alexander has either activated or deployed his Taser or discharged his firearm. Also, Plaintiff

   agrees not to play the DVD documentary at trial, but may seek to introduce extracted still frames

   as photographs. Plaintiff does not agree to any other relief herein sought.

   Dated: January 13, 2017.                              Respectfully submitted,
                                                         ABIGAIL PRICE-WILLIAMS
                                                         MIAMI-DADE COUNTY ATTORNEY
                                                         Stephen P. Clark Center
                                                         111 N.W. 1st Street, Suite 2810
                                                         Miami, Florida 33128

                                                         By: /s/ Jennifer L. Hochstadt
                                                            Jennifer L. Hochstadt
                                                            Assistant County Attorney
                                                            Florida Bar No. 56035
                                                            Telephone: (305) 375-5151
                                                            Facsimile: (305) 375-5611
                                                            E-Mail: hochsta@miamidade.gov

                                                     9
Case 1:16-cv-21874-KMM Document 68 Entered on FLSD Docket 01/13/2017 Page 10 of 10




                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 13, 2017 a true and correct copy of the foregoing was
   served on all counsel of record in the manner indicated on the Service List below.


                                                       /s/ Jennifer L. Hochstadt
                                                       Assistant County Attorney


                                           SERVICE LIST


   Hilton Napoleon, Esq.                           Jennifer L. Hochstadt.
   e-mail: hnapoleon@rascoklock.com                e-mail: hochsta@miamidade.gov
   RASCO KLOCK PEREZ NIETO                         Miami-Dade County Attorney’s Office
   2555 Ponce de Leon Blvd., Suite 600             Stephen P. Clark Center
   Coral Gables, Florida 33134                     111 N.W. 1st Street, Suite 2810
   Tel: (305) 476-7111                             Miami, Florida 33128
   Fax: (305) 675-7707                             Tel: (305) 375-5151
   Counsel for Plaintiff                           Fax: (305) 375-5634
   Electronic service via CM/ECF                   Counsel for Defendant
                                                   No Service Made




                                                  10
